                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE: Regina M. Dreher aka Regina              BK NO. 18-03124 MJC
   Marie Helen Dreher aka Regina Dreher
                               Debtor(s)           Chapter 13

   PennyMac Loan Services, LLC
                              Movant
               vs.

   Regina M. Dreher aka Regina Marie
   Helen Dreher aka Regina Dreher
                               Debtor(s)

   Jack N. Zaharopoulos
                                Trustee




           PENNYMAC LOAN SERVICES, LLC’S NOTICE OF DEBTOR’S
       REQUEST FOR FORBEARANCE DUE TO THE COVID-19 PANDEMIC


          Now comes Creditor PennyMac Loan Services, LLC (“Creditor”), by and through

   undersigned counsel, and hereby submits Notice to the Court of the Debtor’s request for

   mortgage payment forbearance based upon a material financial hardship caused by the

   COVID-19 pandemic.

          The Debtor recently contacted Creditor requesting a forbearance period of 1

   month and has elected to not tender mortgage payments to Creditor that would come due

   on the mortgage starting 05/01/2022 through 05/31/2022. Creditor holds a secured

   interest in real property commonly known as 312 North 3rd Street Lehighton, PA 18235

   as evidenced by claim number 10 on the Court’s claim register. Creditor, at this time,

   does not waive any rights to collect the payments that come due during the forbearance

   period. If the Debtor desires to modify the length of the forbearance period or make

   arrangements to care for the forbearance period arrears, Creditor asks that the Debtor or

   Counsel for the Debtor make those requests through undersigned counsel.

Case 5:18-bk-03124-MJC       Doc 88 Filed 04/28/22 Entered 04/28/22 09:00:56              Desc
                             Main Document     Page 1 of 2
          Per the request, Debtor will resume Mortgage payments beginning 06/01/2022,

   and will be required to cure the delinquency created by the forbearance period

   (hereinafter “forbearance arrears”). Creditor has retained undersigned counsel to seek an

   agreement with Debtor regarding the cure of the forbearance arrears and submit that

   agreement to the Court for approval. If Debtor fails to make arrangements to fully cure

   the forbearance arrears, Creditor reserves it rights to seek relief from the automatic stay

   upon expiration of the forbearance period.

          In the event it is not the intent of the Debtor to extend the COVID-19 forbearance

   period, upon receipt of notification from the Debtor or Debtors counsel, the forbearance

   extension will be cancelled and this notice will be withdrawn. Thank you.

                                                        Respectfully Submitted,

                                                        /s/Rebecca A. Solarz, Esquire
                                                        Rebecca A. Solarz, Esquire
                                                        Attorney for Creditor




Case 5:18-bk-03124-MJC        Doc 88 Filed 04/28/22 Entered 04/28/22 09:00:56               Desc
                              Main Document     Page 2 of 2
